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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL
EMPLOYEES, AFL-CIO, et al.,

                      Plaintiffs,
                                                    Case No. 1:25-cv-00596-ELH
               v.

SOCIAL SECURITY
ADMINISTRATION, et al.,

                      Defendants.



                                    [PROPOSED] ORDER

         Having considered Defendants’ motion to file the Administrative Record of the Social

Security Administration under seal, and for good cause shown, Defendants’ motion is

GRANTED.

         The Administrative Record shall be filed UNDER SEAL.


Dated:
                                           Hon. Hellen Lipton Hollander
                                           United States District Judge
